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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                   Case No. 24-90533 (ARP)


                                       Debtors.                      (Jointly Administered)


                       STIPULATION AND AGREED ORDER
               REGARDING MARZAN WILLIAMS’ STAY RELIEF MOTION

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

Marzan Williams (the “Movant,” and together with the Debtors, the “Parties”) hereby enter into

this stipulation and agreed order (this “Stipulation and Agreed Order”) as follows:

         WHEREAS, on February 9, 2021, Movant brought suit against certain of the Debtors and

other defendants, including the United States of America (together with the Debtors, collectively,

the “Defendants”), in Williams v. Heisner et al., Case No. 21-cv-730, in the United States District

Court, Northern District of Illinois (the “Lawsuit”);

         WHEREAS, in the Lawsuit, Movant asserts certain claims and causes of action against the

Defendants related to their alleged deliberate indifference to Movant’s serious medical needs,

which gave rise to the infliction of cruel and unusual punishment while Movant was in federal

custody as a pretrial detainee in the Metropolitan Correctional Center in Chicago, Illinois;

         WHEREAS, the Debtors dispute any and all liability with regard to any of the damages

alleged to have been suffered by Movant;



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    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
    chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Amended Interim

Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Extension Order”) staying all

Lawsuits (as defined in the Stay Extension Motion) in their entirety, including claims against the

Non-Debtor Defendants, on an interim basis;

       WHEREAS, on January 6, 2025, Movant filed the Motion for Relief from Stay to Proceed

with Litigation against Non-Debtors and against the Debtor’ Insurance Policies [Docket No. 814]

(the “Stay Relief Motion”) seeking to lift the automatic stay as to the Debtors and relief from the

enforcement of the automatic stay with respect to the United States in the Lawsuit;

       WHEREAS, on January 14, 2025, the Court entered the Stipulated and Agreed Amended

Order (I) Enforcing the Automatic Stay on a Final Basis with Respect to Certain Actions,

(II) Enforcing the Automatic Stay on an Interim Basis with Respect to Certain Actions,

(III) Extending the Automatic Stay on an Interim Basis to Certain Actions Against Non-Debtors,

(IV) Setting a Final Hearing for the Interim Relief Granted Herein, and (V) Granting Related

Relief [Docket No. 962] (the “Second Stay Extension Order”).




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       NOW, THEREFORE, IT IS STIPULATED AND AGREED:

       1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code and extended to Non-Debtor Defendants does not extend to claims or causes of

action against the United States, its agencies, bureaus, other subdivisions, or employees in the

Lawsuit.

       2.      Except as set forth herein, the Second Stay Extension Order otherwise remains a

fully enforceable order and the automatic stay’s application to the Debtor and all other Non-Debtor

Defendants (as defined in the Stay Extension Order), other than the United States, in the Lawsuit

shall remain in full force and effect.

       3.      Entry of this Stipulation and Agreed Order provides partial relief with respect to

Movant’s Stay Relief Motion and does not preclude Movant from seeking additional relief.

       4.      This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: ________, 2025
Houston, Texas


                                             Alfredo R Perez
                                             UNITED STATES BANKRUPTCY JUDGE




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STIPULATED AND AGREED TO THIS 22ND DAY OF JANUARY, 2025:

By: /s/ Marcus A. Helt
Marcus A. Helt (Texas Bar #24052187)
MCDERMOTT WILL & EMERY LLP
2501 N. Harwood Street, Suite 1900
Dallas, Texas 75201-1664
Telephone:     (214) 295-8000
Facsimile:     (972) 232-3098
Email:         mhelt@mwe.com

-and-

Felicia Gerber Perlman (admitted pro hac vice)
Bradley Thomas Giordano (admitted pro hac vice)
Jake Jumbeck (admitted pro hac vice)
Carole Wurzelbacher (admitted pro hac vice)
Carmen Dingman (admitted pro hac vice)
MCDERMOTT WILL & EMERY LLP
444 West Lake Street, Suite 4000
Chicago, Illinois 60606-0029
Telephone:     (312) 372-2000
Facsimile:     (312) 984-7700
Email:         fperlman@mwe.com
               bgiordano@mwe.com
               jjumbeck@mwe.com
               cwurzelbacher@mwe.com
               cdingman@mwe.com
-and-

Steven Z. Szanzer (admitted pro hac vice)
MCDERMOTT WILL & EMERY LLP
One Vanderbilt Avenue
New York, New York 10017
Telephone:    (212) 547-5400
Facsimile:    (212) 547-5444
Email:        sszanzer@mwe.com


Counsel to the Debtors and Debtors in Possession
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By: /s/ Jack Shadid

Jack Shadid
Brian Zeeck
HINSHAW & CULBERTSON, LLP
151 N. Franklin St., Ste. 2500
Chicago, IL 60606
312-704-3093

Counsel for Creditor/Plaintiff Marzan Williams




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